                          UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE


                                        )
    UNITED STATES of AMERICA for the use and
    benefit of RELYANT GLOBAL, LLC,     )
                                        )
              Plaintiff,                )
                                        )
         vs.                            )
                                        )               Case No. 3:24-cv-00474-KAC-jem
    TRAVELERS CASUALTY AND SURETY       )
    COMPANY OF AMERICA, THE             )
    CONTINENTAL INSURANCE COMPANY,      )
    FEDERAL INSURANCE COMPANY, FIDELITY )
    AND DEPOSIT COMPANY OF MARYLAND,    )
    ZURICH AMERICAN INSURANCE           )
    COMPANY, and SAFECO INSURANCE       )
    COMPANY OF AMERICA,                 )
                                        )
              Defendants.


    DEFENDANTS’ MOTION TO DISMISS FIRST AMENDED COMPLAINT, OR IN THE
                    ALTERNATIVE, TO TRANSFER VENUE


         Defendants, Travelers Casualty and Surety Company of America, Continental Insurance

Company, Federal Insurance Company, Fidelity and Deposit Company of Maryland, Zurich

America Insurance Company, and Safeco Insurance Company of America (collectively,

“Defendants”), by and through counsel1 and pursuant to Federal Rule of Civil Procedure 12(b),

respectfully move this Court for an Order dismissing the First Amended Complaint filed by



1
  The undersigned counsel for Granite-Obayashi A Joint Venture, a joint venture partnership
among Granite Construction Company Guam, a Guam corporation, and Obayashi Corporation, a
Japanese corporation (“GOJV”) is making a limited appearance on behalf of Defendants who
tendered their defense to GOJV pursuant to a written agreement. However, nothing in this
Motion should be construed as GOJV or its constituent partners waiving any defenses, including
the defenses available under Federal Rule of Civil Procedure 12(b), should Plaintiff choose to
join GOJV or its constituent partners as parties.


                                             1
Case 3:24-cv-00474-KAC-JEM          Document 15      Filed 02/10/25     Page 1 of 3     PageID
                                          #: 311
Plaintiff, Relyant Global, LLC. (ECF No. 13.) In the alternative, Defendants request this Court

transfer this case to the United States District Court for the District of Guam. This Motion is

accompanied by Defendants’ contemporaneously filed Memorandum of Law, which is

incorporated by reference as if fully restated herein.

       Dated: February 10, 2025.

                                                         Respectfully submitted,

                                                         BAKER, DONELSON, BEARMAN,
                                                         CALDWELL & BERKOWITZ, P.C.


                                                         s/ Jennie Vee Silk
                                                         Jennie Vee Silk (#35319)
                                                         Kelsey McKinney (#40434)
                                                         W. Preston Battle IV (#35044)
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                                                         kmckinney@bakerdonelson.com
                                                         pbattle@bakerdonelson.com

                                                         Counsel for Granite-Obayashi A Joint
                                                         Venture




                                               2
Case 3:24-cv-00474-KAC-JEM            Document 15          Filed 02/10/25    Page 2 of 3     PageID
                                            #: 312
                            CERTIFICATE OF CONSULTATION
       I, Jennie Silk, hereby certify that, pursuant to the Court’s Order Governing Motion to

Dismiss (Doc. 3), I attempted to confer with counsel for Plaintiff, James Price and Michael

Franz, via email on February 10, 2025, regarding the relief sought in this Motion. As of the time

of this filing, Plaintiff’s counsel had not responded to the request to confer about the Motion to

Dismiss.

                                                      s/ Jennie Vee Silk
                                                      Jennie Vee Silk


                                 CERTIFICATE OF SERVICE
       I hereby certify that on February 10, 2025 I caused the foregoing document to be filed

and served electronically on all counsel of record via this Court’s CM/ECF filing system.

                                                      s/ Jennie Vee Silk
                                                      Jennie Vee Silk




                                              3
Case 3:24-cv-00474-KAC-JEM           Document 15        Filed 02/10/25      Page 3 of 3      PageID
                                           #: 313
